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David K. Schneider (CSB 139288)
YUNKER & SCHNEIDER

655 West Broadway, Suite 1400
San Diego, California 92101
Telephone: (619) 233-5500
Facsimile: (619) 233-5535
Email: dks@yslaw.com

Attorneys for Defendant TRUMP UNIVERSITY, LLC

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 

TARLA MAKAFFF, BRANDON ) Case No. 10 CV 0940 IEG (WVG)

KELLER, ED OBERKROM, and )

PATRICIA MURPHY, on Behalf of )

Themselves and All Others Similarly } DECLARATION OF DEFENDANT

Situated, ) DONALD J. TRUMP IN SUPPORT OF
) MOTION FOR ALAN GARTEN TO

Plaintiffs, ) APPEAR ON HIS BEHALF AT EARLY

) NEUTRAL EVALUATION

V. ) CONFERENCE
)

TRUMP UNIVERSITY, LLC, (aka )

Trump Entrepreneur Initiative) a New )

York Limited Liability Company, )

DONALD J. TRUMP, and DOES 1 )

through 50, inclusive, )
}

Defendants. )
)
I, Donald J. Trump, declare:
1. I make this declaration of my own personal knowledge, and if called as a witness, I

could and would testify competently to the facts stated herein.

2. { understand that Trump University, LLC and I have been named as defendants in the
above-entitled action in which Plaintiffs seek damages under various contract, tort and statutory _
theories.

3. It is my understanding that the Court and counsel are attempting to schedule the Early

Neutral Evaluation Conference in this matter in September 2011.

1 Case No. 10 CV 0940 IEG (WVG)
DECLARATION OF DEFENDANT DONALD J. TRUMP IN SUPPORT GF MOTION FOR ALAN GARTEN TO
APPEAR ON HIS BEHALF AT EARLY NEUTRAL EVALUATION CONFERENCE

 

 
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4. Mr. Garten has been personally involved with and has directed the defense of this
litigation on behalf of Trump University, LLC since its inception, and more recently on my behalf,
since plaintiffs named me personally. I have never met or communicated with any of the plaintiffs
personally nor contracted with any of them. I have had limited involvement in the case.

5. Mr. Garten will be attending the ENE Conference in person as the representative for
Trump University, LLC with full authority to negotiate and enter into settlement terms for Trump
University, LLC,

6. Mr. Garten has a full, complete, and thorough understanding of the legal and factual
issues involved in this case that would be necessary for consideration and discussion at the ENE
Conference.

7. In addition, because Mr. Garten has a thorough and detailed knowledge and
understanding of those legal and factual issues, I have, throughout this matter, given Mr. Garten full
authority for the direction of this action, including its potential settlement at the ENE Conference.

8. T have given Mr. Garten full authority to negotiate and to enter into settlement terms
on behalf of Trump University, LLC and myself at the ENE Conference.

9. Tt would be extremely difficult for me to attend the Conference in person in San
Diego in September. | am currently scheduled to be in Scotland the week of September 5, in Brazil
the week of September 12, and in Australia the week of September 19. My schedule is fluid and
could include more or fewer travel plans during September. I do not yet know my complete
schedule after my return from Australia.

10. — respectfully request that the Court permit Mr. Garten to attend the ENE Conference
on my behalf. Mr. Garten will have full authority to handle all issues at the ENE Conference,
including settlement. However, if the Court needs to contact me personally during the ENE, Mr.
Garten will have the ability to reach me.

I declare under penalty of perjury according to the laws of the United States that the

foregoing is true and correct and that this declarajion was signed by me on July 11, 2011, in New

     

York, New York.

 
  

Donald J. Trump
Case No. 10 CV 0940 IEG (WVG)

DECLARATION OF DEFENDANT DONALD J. TRUMP IN SUPPORT OF MOTION FOR ALAN GARTEN TO
APPEAR ON HIS BEHALF AT EARLY NEUTRAL EVALUATION CONFERENCE

 

 
